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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                 Case No.:1:09-cr-17-SPM/AK-2

PAUL CEDENO,

           Defendant.
_____________________________/

            ORDER GRANTING MOTION TO CONTINUE SENTENCING

       This cause comes before the Court on the Defendant’s Motion to

Continue Sentencing (doc. 90). The Government does not oppose the motion

to continue.

       Good cause having been found, it is hereby ORDERED AND ADJUDGED

as follows:

       1.      The Defendant’s motion to continue (doc. 90) is hereby granted.

       2.      Sentencing is reset for February 1, 2010, at 1:30 p.m. in

               Gainesville, Florida.

       DONE AND ORDERED this fifth day of November, 2009.


                                         s/ Stephan P. Mickle
                                       Stephan P. Mickle
                                       Chief United States District Judge




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